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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.

MYBRITT HARRIS,
Plaintiff,
VS.
GCA SERVICES GROUP, INC., and
GCA SERVICES GROUP OF COLORADO, INC.,
tid/b/a CLOLA ENTERPRISES, INC.,

Defendants.

COMPLAINT

Plaintiff, Mybritt Harris, through her attorneys at Weeks & Luchetta, LLP, submits
her Complaint against GCA Services Group, Inc. and GCA Services Group of Colorado,
Inc. fid/b/a “CLOLA Enterprises, Inc.”

|. Parties and Jurisdiction

1. Plaintiff, Mybritt Harris, a female, is over the age of eighteen, and she is a
resident of E] Paso County, Colorado. Ms. Harris is black and, as such, is a
member cf a protected class.

2. Defendant, CGA Services Group, Inc., is a corporation.

3. Defendant, GCA Services Group of Colorado, Inc. f/d/b/a “CLOLA Enterprises,
Inc.,” is a corporation.

4, Defendants are in the business of providing janitorial services.
5. Upon information and belief, Defendants operate as a joint enterprise.
6. At all times material hereto, Defendants maintained 15 or more employees for 20

or more weeks per year.
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Defendants employed and fired Plaintiff.

Venue in this matter is proper because the alleged wrongful acts of the
Defendants occurred in Colorado.

Plaintiff filed a timely complaint of discrimination with the Equal Employment
Opportunity Commission (the EEOC).

The EEOC determined there was reasonable cause to believe that the
Defendants had illegally discriminated against Plaintiff based on race.

On May 21, 2008, the EEOC mailed Plaintiff a Notice of Right to Sue under Title
VII.

This lawsuit was filed within 90 days of the date the EEOC mailed Plaintiff a
Notice of Right to Sue.

Plaintiff has satisfied all administrative procedures required to bring this suit.
This Court has proper jurisdiction in this case pursuant to 28 U.S.C. § 1331.

ll. Allegations and Claims

At all times material hereto, Defendants provided janitorial services at Schriever
Air Force Base in Colorado Springs, Colorado.

Plaintiff began work for Defendants on December 10, 2000.
Plaintiff was the Morning Shift Supervisor for Defendants at the Joint National
Integration Center (JNIC) at Schriever Air Force Base in Colorado Springs,

Colorado.

Throughout Plaintiff's employment with Defendants, her performance was
excellent. She was well qualified for her position.

Throughout Plaintiffs employment with Defendants, she never received any
warnings or write-ups regarding poor job performance.

The Defendants employed a night shift and a morning shift to perform janitoria!
services at JNIC.

The government provided Defendants with a Statement of Work regarding the
janitorial services to be performed at JNIC. The Statement of Work provided that

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Defendants shall perform the largest portion of the required janitorial services
during off duty hours (1700-0700). Included within the janitorial duties that had
to be performed during these off duty hours was cleaning the bathrooms at JNIC.

At all times material hereto, the Defendants’ night shift at JNIC was responsible
for cleaning the bathrooms at JNIC. The Defendants’ morning shift was not
responsible for cleaning the bathrooms at JNIC, and they had other janitorial
duties that occupied their time each morning.

In June and July 2005, the Defendants’ night shift was supervised by a white
female, and the night shift was mostly composed of white individuals. During this
time, Plaintiff, a black female, was the supervisor of the morning shift.

During June and July 2005, the night shift repeatedly failed to perform its
janitorial services properly, including leaving the bathrooms at JNIC unclean and
messy. Plaintiff repeatedly came to work to find the bathrooms in terrible shape,
and she repeatedly reported these problems to her supervisor, Lana Ades.

Ms. Ades, a white female, repeatedly failed to discipline the white supervisor and
white workers on the night shift who were responsible for leaving the bathrooms
at JNIC unclean and messy, and the problem continued.

On July 25, 2005, a large special event was scheduled at JNIC beginning at 8:00
A.M., and many visitors would be in the presentation and war game rooms.

Plaintiff arrived at JNIC on July 25, 2005 at approximately 5:30 A.M. to begin
making preparations for the day. Her morning crew arrived at approximately 6:00
A.M., and they began to clock in, get their equipment and report for duty. The
morning crew was responsible for having the presentation and war game rooms
cleaned and ready by approximately 7:00 A.M., and they were pressed for time.

On July 25, 2005, at approximately 6:15 A.M. the Plaintiff discovered that the
bathrooms at JNIC were very unclean and messy — meaning that the night shift
once again failed to do tts job of cleaning the bathrooms during the night —
despite Plaintiff's repeated efforts to get the night shift to perform its job
responsibilities.

The Plaintiffs morning shift did not have time to do the night shift's job of
cleaning the bathrooms and doing its job of cleaning the presentation and war
game rooms at JNIC before the start of the event. Therefore, the Plaintiff
directed her morning shift to perform their assigned duties of cleaning the
presentation and war game rooms at JNIC for the special event.

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On July 29, 2005, the Defendants’ account manager, Allen Bickle (a white male),
arrived at JNIC and terminated Plaintiff because she failed to have her morning
shift perform the night shift’s job of cleaning the bathrooms at JNIC before the
special event. Mr. Bickle told Plaintiff she had made the wrong decision so she
was being dismissed.

The white employees on the night crew, whose job responsibility it was to clean
the bathrooms at JNIC, were not disciplined by Defendants for their failure to
clean the bathrooms on July 25, 2005. In fact, the Defendants’ white managers
and supervisors repeatedly and consistently failed to discipline or terminate white
employees who failed to perform their assigned janitorial duties.

There was no valid reason to terminate the Plaintiff. Instead, the Defendants
decided io terminate Plaintiff because she is black and they wanted to replace
her with a white employee.

The Defendants’ termination of Plaintiff was very upsetting to Plaintiff, and Mr.
Bickle announced the termination in a public location — further humiliating the
Plaintiff.

Defendants quickly hired a white female to replace Plaintiff as the supervisor of
the morning shift at JNIC. Also soon after Mr. Bickle terminated the Plaintiff, he
asked Plaintiff to stay on for a couple of weeks in order to train her replacement.

Plaintiff agreed to continue working a couple of weeks in order to train her
replacement, and Plaintiff's last day of work for Defendants was August 19,
2005.

Defendants’ claim that it terminated Plaintiff for failing to properly perform her job
duties is a pretext for race discrimination.

Defendants treated Plaintiff differently and less favorably than they treated white
employees with respect to discipline for failing to perform assigned duties and
with respect to other employment matters (e.g., the manner in which the
Defendants handled alleged security violations).

Race was a motivating factor in Defendants’ discriminatory treatment and
wrongful termination of Plaintiff.

Defendants’ conduct violates Plaintiffs Constitutional rights pursuant to 42
U.S.C, § 1981.

Defendants’ conduct violates Title VII of the Civil Rights Act of 1964. 42 U.S.C. §
2000e et seq.,

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Defendant's conduct violated the Colorado Anti-Discrimination Act (CADA).
C.R.S. § 24-34-402 et seq.

Defendants’ conduct violates the public policy of the State of Colorado, and
Defendants wrongfully terminated Plaintiff.

Defendants engaged in racial discrimination with malice or with reckless
indifference to the right of Plaintiff to be free from such intentional discrimination.

Defendants’ wrongful actions toward Plaintiff have caused her to suffer and
continue to suffer loss of wages, loss of future income, other economic damages,
financial distress, humiliation, emotional distress and anxiety.

ll. Prayer for Relief

Plaintiff prays for entry of judgment against Defendants as follows:
For back pay;

For front pay;

For compensatory damages;

For an order enjoining Defendants from engaging in such unlawful employment
practices;

For punitive damages as determined by a jury in this cause;

For expert witness fees and other costs incurred as a result of this action;

For reasonable attorney's fees;

For interest as provided by law; and

For such other and further relief as this Court deems just, equitable and proper.

IV. Jury Demand

Plaintiff demands that a jury of six (6) persons try this case.

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Respectfully submitted this 14 day of August 2008.

Bnet L.
/s/ Jettrey L. Wé
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